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 4   Attorney for Defendant
     JARMAL DUPLESSIS
 5
 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. Cr. S-09-0422 WBS
11                                 Plaintiff,            STIPULATION AND ORDER TO
                                                         CONTINUE STATUS CONFERENCE
12          vs.
                                                         Date: January 11, 2010
13   JARMAL DUPLESSIS, et al.,                           Time: 8:30 a.m.
                                                         Judge: Hon. William B. Shubb
14                                 Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jean Hobler, Assistant United States Attorney, attorney for plaintiff,
18   Michael E. Hansen, attorney for defendant Jarmal Duplessis, Caro Marks, attorney for
19   defendant Nakesha Sharrieff, and Erin Radekin, attorney for defendant Thomas Keys, Jr.., that
20   the previously scheduled status conference date of January 11, 2010, be vacated and the matter
21   set for status conference on March 29, 2010, at 8:30 a.m.
22           This continuance is requested to allow defense counsel to continue their review the
23   1,700 pages of discovery received to date, and to allow all parties to discuss possible settlement
24   of the case.
25           Accordingly, all counsel and the defendants agree that time under the Speedy Trial Act
26   from the date this stipulation is lodged, through March 29, 2010, should be excluded in
27   / / / / /
28   / / / / /


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     Stipulation and Order to Continue Status Conference
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 1   computing time within which trial must commence under the Speedy Trial Act, pursuant to
 2   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4.
 3   Dated: January 8, 2010                             Respectfully submitted,
 4
                                                        /s/ Michael E. Hansen
 5                                                      MICHAEL E. HANSEN
                                                        Attorney for Defendant
 6                                                      JARMAL DUPLESSIS
 7
     Dated: January 8, 2010                             /s/ Caro Marks
 8                                                      CARO MARKS
                                                        Assistant Federal Defender
 9                                                      Attorney for Defendant
                                                        NAKESHA SHARRIEFF
10
11   Dated: January 8, 2010                             /s/ Erin Radekin
                                                        ERIN RADEKIN
12                                                      Attorney for Defendant
                                                        THOMAS KEYS, JR.
13
14   Dated: January 8, 2010                             /s/ Jean Hobler
                                                        JEAN HOBLER
15                                                      Assistant U.S. Attorney
                                                        Attorney for Plaintiff
16
17
18                                             ORDER
19          IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
20   §§ 3161(H)(7)(A) and (B)(iv), and Local Code T4.
21   Dated: January 8, 2010
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     Stipulation and Order to Continue Status Conference
